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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                  Civil Action No. 25-cv-10676

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



 INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’ REPLY IN SUPPORT OF
MOTION FOR CLASS CERTIFICATION AND PLAINTIFFS’ REPLY IN SUPPORT
            OF MOTION FOR A PRELIMINARY INJUNCTION
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Exhibit    Description
  A        Guerra-Castaneda v. Garland, No. 19-1736, ECF 00117489280 (1st Cir.
           Sept. 14, 2019) and Guerra-Castaneda v. Garland, No. 19-1736, ECF
           00117491683 (1st Cir. Sept. 19, 2019)
  B        Paye v. Garland, No. 23-1426, ECF 00118167762 (1st Cir. July 17, 2024)

  C        W.G.A. v. Sessions, No. 16-4193, ECF 65 (7th Cir. Mar. 19, 2018)

  D        Herrera-Meza v. Sessions, No. 18-70117, ECF 17 (9th Cir. Sept. 18, 2018)

  E        Rodriguez Sutuc v. Att’y Gen., No. 15-2425, Dkt. 003111996172 (3d Cir.
           June 19, 2015)
  F        H.I.L. v. Barr, No. 19-3053, ECF 25 (2d Cir. Oct. 2, 2019)

  G        Ramirez-Chavez v. Holder, No. 11-72297, ECF 18 (9th Cir. Apr. 10, 2012)

  H        Singh v. Att’y Gen., No. 15-10136 (11th Cir. July 2, 2015)

   I       Declaration of Paige Austin

   J       Declaration of Aimee L. Mayer-Salins

  K        Declaration of Kelsey Morales

  L        Declaration of Katherine Gordon and attachment

  M        Declaration of Mich P. Gonzalez and attachment

  N        Declaration of Zoe Bowman

  O        Declaration of Kathleen Malia Glynn

  P        Declaration of Michelle Brané

  Q        Turnbull v. Ridge, No. 1:04-cv-392 (E.D. Ohio Apr. 22, 2004)




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